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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  SHARON SCOTT,

         Plaintiff,

  v.                                                       Case No:

  ONEMAIN FINANCIAL GROUP,
  LLC,
                                                           DEMAND FOR JURY TRIAL
        Defendant.
  _____________________________/


        PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

         COMES NOW, Plaintiff, SHARON SCOTT (“Ms. Scott” or “Plaintiff”), by and

  through the undersigned counsel, and hereby sues and files this Complaint and Demand

  for Jury Trial with Injunctive Relief Sought against Defendant, ONEMAIN

  FINANCIAL GROUP, LLC (“Defendant”), and in support thereof states as follows:

                                            Introduction

         1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

  by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Restrictions on Use of

  Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer

  Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

  such Debt by using an automatic telephone dialing system or automated voice or

  prerecorded message to call Ms. Scott’s Cellular Telephone after Ms. Scott demanded

  that Defendant stop calling her Cellular Telephone, which can reasonably be expected to

  harass Ms. Scott.


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                                        Jurisdiction and Venue

          2.      This Court has subject matter jurisdiction over the instant case arising

  under the federal question presented in the TCPA pursuant to 28 U.S.C. § 1331.

          3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and Fla. Stat. §

  559.77 (1), as a substantial part of the events or omissions giving rise to the claims

  occurred in this judicial district.

                                                 Parties

          4.      Plaintiff, Ms. Scott, was and is a natural person and, at all times material

  hereto, is an adult, a resident of Hillsborough County, Florida, and a “debtor” or

  “consumer” as defined by Fla. Stat. § 559.55 (8).

          5.      Ms. Scott is the “called party” as referenced in the TCPA, 47 U.S.C. § 227

  (b) (1) (A) (iii), for all calls placed to cellular telephone number 813-***-0492 (“Ms.

  Scott’s Cellular Telephone”).

          6.      At all times material hereto, Defendant was and is a corporation with its

  principle place of business in the State of MD and its registered agent, CT Corporation

  System, located at 1200 South Pine Island Road, Plantation, FL 33324.

                                          Statements of Fact

          7.      On or around February 1, 2017, Ms. Scott opened a personal loan account

  with Defendant in Ms. Scott’s name that was assigned a unique account number

  (“Account”).




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          8.       In or around October, 2018, Ms. Scott was hospitalized and fell behind on

  her payments towards the Account, incurring an alleged outstanding balance thereunder

  (“Debt”)..

          9.       On or around October 17, 2018, Ms. Scott sent her credit disability form to

  Defendant as a result of her hospitalization. See Exhibit A.

          10.      During the entire month of October 2018, Defendant continued to call Ms.

  Scott’s Cellular Telephone in attempts to collect the Debt.

          11.      Defendant even called Ms. Scott’s Cellular Telephone while she was in

  the hospital in attempts to collect the Debt.

          12.      Ms. Scott spoke with Defendant and explained to Defendant that she had

  been hospitalized.

          13.      Ms. Scott thought that her credit disability form had been accepted, but in

  or around December 2018, Ms. Scott received a delinquency notice from Defendant that

  demanded payment of the Debt.

          14.      Ms. Scott again notified Defendant that she had been hospitalized and was

  able to work out payment arrangement (“Payment Arrangement”) that would bring her

  Account current.

          15.      In January of 2019, Ms. Scott made a payment of $800 pursuant to the

  Payment Arrangement.

          16.      Despite Ms. Scott’s payment pursuant to the Payment Arrangement,

  Defendant continued to call Ms. Scott’s Cellular Telephone in attempts to collect the

  Debt.



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         17.      On or around January 30, 2019, Ms. Scott explained to Defendant that she

  just made the payment pursuant to the Payment Arrangement and demanded that

  Defendant stop calling her Cellular Telephone.

         18.      Defendant told Ms. Scott that it had notated the Account and that the calls

  should stop for a few days.

         19.      The very next day, despite the fact that Ms. Scott had just made a payment

  pursuant to the Payment Arrangement and had told Defendant to stop calling her Cellular

  Telephone, Defendant called Ms. Scott’s Cellular Telephone again.

         20.      For at least the second time, Ms. Scott demanded Defendant stop calling

  Ms. Scott’s Cellular Telephone.

         21.      Despite Ms. Scott’s demands, Defendant continued to place calls to Ms.

  Scott’s Cellular Telephone in attempts to collect the Debt.

         22.      During the time period of October 2018 through the beginning of February

  2019, Defendant called Ms. Scott’s Cellular Telephone from its branch telephone number

  813-985-4511.

         23.      During the time period, Defendant called Ms. Scott’s Cellular Telephone

  at least thirty-one (31) times from telephone number 813-985-4511.

         24.      Beginning on or after January 29, 2019, however Defendant began calling

  Ms. Scott’s Cellular Telephone from its collections department telephone number, 844-

  298-9776.

         25.      Defendant called Ms. Scott’s Cellular Telephone at least eleven (11) times

  from telephone number 844-298-9776.



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          26.      Defendant has called Ms. Scott’s Cellular Telephone at least fifty (50)

  times during the time period from January of 2019 to the present date.

          27.      Defendant called Ms. Scott’s Cellular Telephone up to four (4) times in a

  single day.

          28.      All of Defendant’s calls to Ms. Scott’s Cellular Telephone were placed in

  an attempt to collect the Debt.

          29.      Defendant has harassed Ms. Scott due to the timing and frequency of

  Defendant’s calls.

                Count 1: Violation of the Telephone Consumer Protection Act

          30.      Ms. Scott re-alleges paragraphs 1-29 and incorporates the same herein by

  reference.

          31.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

  227 (b) (1) prohibits any person:

                            (A) to make any call (other than a call made for
                            emergency purposes or made with the prior express
                            consent of the called party) using any automatic
                            telephone dialing system or an artificial prerecorded
                            voice – (iii) to any telephone number assigned to a
                            paging service, cellular telephone service, . . . or
                            any service for which the called party is charged for
                            the call.

          32.      Ms. Scott revoked consent to have Defendant call her Cellular Telephone

  by the use of an automatic telephone dialing system (“ATDS”) or artificial voice or

  prerecorded message in or around January of 2019 when she expressly told Defendant

  twice to stop calling her at least twice.




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         33.      Despite Ms. Scott’s several revocations of consent, Defendant thereafter

  called Ms. Scott’s Cellular Telephone at least fifty (50) times.

         34.      Defendant did not place any emergency calls to Ms. Scott’s Cellular

  Telephone.

         35.      Defendant willfully and knowingly placed non-emergency calls to Ms.

  Scott’s Cellular Telephone.

         36.      Ms. Scott knew that Defendant called Ms. Scott’s Cellular Telephone

  using an ATDS because she heard a pause when she answered at least one of the first few

  calls from Defendant on her cellular telephone before a live representative of Defendant

  came on the line.

         37.      Ms. Scott knew that Defendant called Ms. Scott’s Cellular Telephone

  using a prerecorded voice because Defendant left Ms. Scott at least one voicemail using a

  prerecorded voice.

         38.      Defendant used an ATDS when it placed at least one call to Ms. Scott’s

  Cellular Telephone.

         39.      Under information and belief, Defendant used an ATDS when it placed at

  least ten calls to Ms. Scott’s Cellular Telephone.

         40.      Under information and belief, Defendant used an ATDS when it placed at

  least twenty calls to Ms. Scott’s Cellular Telephone.

         41.      Under information and belief, Defendant used an ATDS when it placed all

  calls to Ms. Scott’s Cellular Telephone.




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         42.      At least one call that Defendant placed to Ms. Scott’s Cellular Telephone

  was made using a telephone dialing system that has the capacity to store telephone

  numbers to be called.

         43.      At least one call that Defendant placed to Ms. Scott’s Cellular Telephone

  was made using a telephone dialing system that has the capacity to produce telephone

  numbers to be called without human intervention.

         44.      At least one call that Defendant placed to Ms. Scott’s Cellular Telephone

  was made using a telephone dialing system that uses a random number generator.

         45.      At least one call that Defendant placed to Ms. Scott’s Cellular Telephone

  was made using a telephone dialing system that uses a sequential number generator.

         46.      At least one call that Defendant placed to Ms. Scott’s Cellular Telephone

  was made using a prerecorded voice.

         47.      Defendant has recorded at least one conversation with Ms. Scott.

         48.      Defendant has recorded more than one conversation with Ms. Scott.

         49.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message to place call individuals to collect

  alleged debts from said individuals, such as Ms. Scott, for its financial gain.

         50.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

  using such devices, just as it did to Ms. Scott’s Cellular Telephone, with no way for the

  called party and recipient of the calls to permit, elect, or invoke the removal of the called

  party and recipient of the calls’ cellular telephone number from Defendant’s call list.



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           51.      The structure of Defendant’s corporate policies and/or procedures permits

  the continuation of calls to individuals like Ms. Scott, despite individuals like Ms. Scott

  revoking any consent that Defendant believes it may have to place such calls.

           52.      Defendant knowingly employs methods and has corporate policies and

  procedures that do not permit the cessation or suppression of calls placed using an ATDS

  to individual’s cellular telephones, like the calls that it placed to Ms. Scott’s Cellular

  Telephone.

           53.      Defendant has corporate policies to abuse and harass consumers like Ms.

  Scott.

           54.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an ATDS after the individual asked for the calls to stop.

           55.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an automated or prerecorded voice after the individual asked

  for the calls to stop.

           56.      Defendant’s phone calls harmed Ms. Scott by causing her embarrassment.

           57.      Defendant’s phone calls harmed Ms. Scott by causing her emotional

  distress.

           58.      Defendant’s phone calls harmed Ms. Scott by causing her lack of sleep.

           59.      Defendant’s phone calls harmed Ms. Scott by causing her stress.

           60.      Defendant’s phone calls harmed Ms. Scott by causing her anxiety.

           61.      Defendant’s phone calls harmed Ms. Scott by causing her aggravation.

           62.      Defendant’s phone calls harmed Ms. Scott by invading her privacy.



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         63.       Defendant’s phone calls harmed Ms. Scott by causing harm to her

  reputation.

         64.       All conditions precedent to this action have occurred.

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Defendant as follows:

                a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                   which allows for $500 in damages for each such violation;

                b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

                c. Awarding Plaintiff costs;

                d. Ordering an injunction preventing further wrongful contact by the

                   Defendant; and

                e. Any other and further relief as this Court deems just and equitable.


       Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)


         65.       Ms. Scott re-alleges paragraphs 1-29 and incorporates the same herein by

  reference.

         66.       Defendant violated the FCCPA. Defendant’s violations include, but are

  not limited to, the following:

                a. Defendant violated Fla. Stat. § 559.72(7) by continuing to

                   call Ms. Scott’s Cellular Telephone after she demanded

                   Defendant to stop calling her, which can reasonably be

                   expected to harass Ms. Scott.



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                 b. Defendant       violated     Fla.    Stat.     §    559.72(9)      by

                    misrepresenting the status of the Debt as seriously

                    delinquent in its calls after Ms. Scott sent Defendant her

                    disability form and remitted payment pursuant to the

                    payment arrangement.

           67.      As a result of the above violations of the FCCPA, Ms. Scott has been

   subjected to unwarranted and illegal collection activities and harassment for which she

   has been damaged.

           68.      Defendant’s phone calls harmed Ms. Scott by causing her embarrassment.

           69.      Defendant’s phone calls harmed Ms. Scott by causing her emotional

   distress.

           70.      Defendant’s phone calls harmed Ms. Scott by causing her lack of sleep.

           71.      Defendant’s phone calls harmed Ms. Scott by causing her stress.

           72.      Defendant’s phone calls harmed Ms. Scott by causing her anxiety.

           73.      Defendant’s phone calls harmed Ms. Scott by causing her aggravation.

           74.      Defendant’s phone calls harmed Ms. Scott by invading her privacy.

           75.      Defendant’s phone calls harmed Ms. Scott by causing harm to her

   reputation.

           76.      It has been necessary for Ms. Scott to retain the undersigned counsel to

   prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

           77.      All conditions precedent to this action have occurred.




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          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Defendant as follows:

                 a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                 b. Awarding actual damages;

                 c. Awarding punitive damages;

                 d. Awarding costs and attorneys’ fees;

                 e. Ordering an injunction preventing further wrongful contact by the

                     Defendant; and

                 f. Any other and further relief as this Court deems just and equitable.

                                 DEMAND FOR JURY TRIAL

            Plaintiff, Sharon Scott, demands a trial by jury on all issues so triable.

    Respectfully submitted this March 19, 2019,

                                                    /s/ Michael A. Ziegler
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